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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO



DANIEL HUGO,

      Plaintiff,

v.                                                     Civ. No. 21‐305 GBW/CG

UNITED STATES OF AMERICA,

      Defendant.


             ORDER VACATING TRIAL SCHEDULING CONFERENCE

      This matter comes before the Court upon a review of the record. During the

parties’ Rule 16 Scheduling Conference, they requested the Court to not enter a

scheduling order until it had decided Defendant’s motion to dismiss (doc. 5). See doc. 18.

Accordingly, IT IS HEREBY ORDERED that the telephonic status conference set for

August 12, 2021, at 2:00 p.m. is VACATED.




                                         _____________________________________
                                         GREGORY B. WORMUTH
                                         UNITED STATES MAGISTRATE JUDGE
                                         Presiding by Consent
